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EXHIBIT A

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

IN RE: Misc. No. 08-0442 (TFH)

GUANTANAMO BAY Civil Action No. 0 6 - 1360
DETAINEE LITIGATION

MIEMORANDUM OF UNDERSTANDING REGARDING ACCESS TO
CLASSIFIED NATIONAL SECURITY INFORMATION

Having familiarized myself with the applicable statutes, regulations, and orders related
to, but not limited to, unauthorized disclosure of classified information, espionage and related
offenses, The Intelligence Identities Protection Act, 50 U.S.C. § 421; 18 U.S.C. § 641; 50
U.S.C. § 783; 28 C.F.R. § 17 et seq.; and Executive Order 12958; I understand that I may be
the recipient of information and documents that belong to the United States and concern the
present and future security of the United States, and that such documents and information
together with the methods and sources of collecting it are classified by the United States
government. In consideration for the disclosure of classified information and documents:

(I) T agree that I shall never divulge, publish, or reveal either by word, conduct or
any other means, such classified documents and information unless specifically
authorized in writing to do so by an authorized representative of the United
States government, or as expressly authorized by the TS/SCI Protective Order
entered in the United States District Court for the District of Columbia in the
above-captioned case(s).

(2) I agree that this Memorandum of Understanding and any other non-disclosure
agreement signed by me will remain forever binding on me.

(3) | have received, read, and understand the TS/SCI Protective Order entered by
the United States District Court for the District of Columbia in the above-
captioned case(s), and I agree to comply with the provisions thereof.

Dated: October 2, 2023 Clip han Y
